                                                                                                            ),



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                                      IN THE UNITED STATES DISTRICT COURT
                                          EASTERN DISTRICT OF VIRGINIA
                                               NORFOLK DIVISION

 ePLUS, INC.,

                                   Plaintiff                                         ) Civil Action No. 2:09cv232- HCM- TEM



 PERFCT COMMERCE, INC. , SCIQUEST
 INC., LA WSON SOFTWARE, INC. , and
 VERIAN TECHNOLOGIES, INC.

                                  Defendants.


 PLAINTIFF ePLUS, INC. S BRIEF IN OPPOSITION TO DEFENDANTS' MOTION TO
                                                          STAY PROCEEDINGS

            INTRODUCTION
            Defendants ' motion for a stay of this patent infringement action should be denied because

a stay wil result in intermnable delay of this action for                                   as the statistics demonstrate

least six and a half years on average; a stay wil also only increase the length , costs, and

complexity of this dispute; and a stay wil not narow the issues for tral in any meaningful way.

Further , a stay wil be unfairly prejudicial to Plaintiff                          ePlus,    Inc.   ePlus        and its patent

licensees, who wil be forced to compete against defendants ' ongoing and unabated infringement

during the duration of the stay and likely through the dates of expiration of one or all of the

patents- in-suit.

            Every realistic estimate of the duration of                      inter partes       reexamnation proceedings projects

that it wil be        at least six and a half years and likely more                         before the proceeding defendant

Lawson Software (" Lawson ) has just requested with the PTO wil be completed.                                           See

Declaration of former PTO Commssioner Har Manbeck, Esq. ("Manbeck Dec. ), " 42- 50 ;

Reexamining Inter Partes Reexamination,                               Institute for Progress (April 2008) (hereinafter
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      Institute for Progress Paper " ) (estimating expected pendency of                                      at least        years    for appealed

 inter partes         reexamnations);            see also Bartex Research, LLC                      v.    Fedex Corp. 611 F. Supp.

 647 651 (E. D. Tex. 2009) (citing and agreeing with analysis in Institute for Progress Report as

 parial basis for denying stay motion).


              In fact    , in the nearly ten- year history of the                   inter partes          reexamnation statute not a

single case          has yet gone through the entire process of a complete                                  inter partes     reexamnation at

the PTO and an appeal to the Federal Circuit.                                /d.   The completion of an appealed                     inter partes

reexamnation within three years                             as defendants " optimistically" suggest wil occur

literally unheard of. Thus, as one commentator has concluded, the grant of a stay of litigation

pending an           inter partes       reexamnation is effectively " game over " as it may allow the infringer to

run out the clock on the patent. R. Sterne,                           Guest Post: Hot Topics in US Patent Reexamination

(Mar. 10, 2009) (available at www. patentlyo. comlpatent/reexamnation). That concern is all the


more present here, where the patent- in-suit for which Lawson has requested reexamnation wil

expire before the reexamnation is completed. Manbeck Dec., n 57- 58.

              Moreover, neither the ongoing                    ex parte       reexamnation of              less than half       of the claims of

one      of the three patents- in-suit, l nor Lawson s newly-requested                                    inter partes      reexamnation of a

second patent- in-suit , are likely to lessen the costs of this dispute, nor are they likely to narow

the issues for trial. For example, Lawson s recent                                 inter partes          request has already been rejected



1 As discussed
                                                    ' allegations , the ex pare reexamnation is
                          infra at 8- 9, contrar to defendants
nowhere near final. That proceeding is pending an "Examner s Answer" before the fie can be
transferred to the Board of Patent Appeals and Interferences ("BP Ar') at the PTO. If ePlus does
not prevail before the BPAI, it has an appeal as of right to the United States Court of Appeals for
the Federal Circuit. All the claims of the patent are valid and enforceable until the full appeal
process is completed. Texas MP3 Technologies v. Samsung Elec. , 2007 WL 3219372 (B.D.
Tex. 2007). Notwithstanding the preliminar stage of this proceeding, it has already consumed
over three years.
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                                          2 Assuming
 by the PTO as          defective.                                arguendo   that Lawson cures these defects and the PTO

 grants the reexamnation request                             which is by no means certain at this point           nonetheless

 there are three patents- in-suit in this litigation. 3 The two reexamnations combined pertain to

 only the ' 172 Patent claims and only twenty (20) out of forty- five (45) claims of the ' 683 Patent.


 More than half of the claims of the ' 683 Patent and all of the claims of the ' 516 Patent are not

 being reexamned at all. Currently, only 20 out of 79 claims total in the three patents- in-suit are

 under reexamnation. And, if Lawson s reexamnation request is granted, then only 25 out of 79

 claims wil be under reexamnation. Thus , unlike the scenaros presented in the case law relied

 upon by defendants,                 there is no prospect that the reexaminations will preclude the need for

litigation and trl in this Court.

                At trial defendants wil undoubtedly assert against the unreexamned ' 683 and ' 516

Patent claims the             very same prior art                 involved in the two reexamnation proceedings and more.

Further, the reexamnations wil not resolve issues of claim construction , infringement

inequitable conduct , or any of the other half- dozen or more additional defenses the defendants

have asserted in this case.

                The reexamnations wil not resolve invalidity defenses raised under Sections 101

(subject matter) or 112 (indefiniteness, written specification), nor wil they resolve defendants

allegations of invalidity due to incorrect or omitted inventors. Even as to invalidity defenses

under Sections 102 (anticipation) or 103 (obviousness), at most there is                              aprospect   that the

reexamnations            might        resolve some issues as to              some   claims, but only for such invalidity


2 Unless and until Lawson
                                 s reexamnation request is actually granted by the PTO , this very
Court' s precedent   holds   that the motion for a stay is premature. Heinz Kettler Gmbh      Co. , KG
v. Indian Indus. , Inc.,   592 F. Supp. 2d 880, 882 (E. D. Va. 2009) (Smith , D.
3 The three patents at issue in this litigation are: U.
                                                        S. Patent No. 6, 023, 683 (the "' 683 Patent"
    S. Patent No. 6, 055, 516 (the "' 516 Patent" ) and U. S. Patent No. 6, 505 172 (the '" 172 Patent"
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defenses based upon patents or "printed publication " prior ar, the sole forms of prior ar that

may      form the basis for a reexamnation.

            Further, if resolved in                   ePlus s favor, the ongoing          ex parte       reexamnation of the ' 683

Patent     will not      bind or estop these defendants at all , and they wil undoubtedly assert the very

same prior ar in this litigation against the very same reexamned ' 683 Patent claims in addition

to the claims of the other two patents- in-suit , albeit six or seven years from now.

            And with respect to Lawson s new                         inter partes      request , defendants have sought to avoid

the estoppel provisions ofthe statute, 35 u.                            c.      315(c), by having only          one part   make the

request. Thus, even if                ePlus      prevails in the      inter partes      reexamnation , only Lawson wil be

estopped from asserting this same prior ar against the same patent claims, and even Lawson wil

not be estopped from raising Section 102 and 103 defenses based on "newly discovered prior

ar.      Id.

            Moreover , here again nothing prevents these defendants from asserting the same prior

relied upon in the             inter partes           proceeding against the ' 516 Patent , which is not being

reexamned, or the other claims of the ' 683 Patent. In short, defendants wil undoubtedly seek

use at trial every piece of prior ar asserted in the reexamnation proceedings and likely

additional prior ar, even if                  ePlus      prevails entirely in those proceedings. Accordingly, it is far

more likely that a stay pending reexamnation wil result in                                           not prevent     costly and

duplicative proceedings.

           For such reasons , Chief Judge Paul R. Michel ofthe U. S. Court of Appeals for the


Federal Circuit provided the following comments on proposals for patent reform in light of the

lack of effcacy of the current reexamnation system:

           Can we really get a faster, better , and cheaper review of challenged patents at the
           PTO than in the courts? Experience with the existing PTO reexamnation
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             procedures raises doubts. And the PTO is already overwhelmed by ex pare
             examnations with average pendencies of over three years, in some ars, far
             longer. Is it realistic to expect the PTO to be able to conduct a new form of inter
             pares reexamnation faster and cheaper than the courts? And more accurately?
             Unless its new procedures, competencies, and powers can be clearly defined , how
             wil we know what consequences would follow? How wil we know this is not a
             mirage in the desert that looks like an oasis, but has no water?

 Paul R. Michel C.l., Where Are We Now on Patent System Improvements and How Can We Best

 Make Further Progress?                  FTC Hearng on the Evolving IP Marketplace , 4 (Dec. 5, 2008)

 (available at www. cafc. uscourts. gov/FCspeech. pdt).

             Thus ePlus             and its licensees who wil have to compete against the defendants ' unlicensed

 infringing products and services wil be unfairly prejudiced by a stay.                               ePlus    is in the business of

providing electronic sourcing and procurement products and services that are covered by (and

marked with) the patents- in-suit.                   ePlus   has also granted licenses to a limited number of other

businesses that likewise compete with the defendants. Defendants ' motion , if granted, would

permt them to rankly infringe throughout the greater than six years duration of the stay, which

wil almost surely continue until after the expiration of one or all of the patents- in-suit.


            Although        ePlus      would stil be entitled to damages, a stay would effectively deprive                   ePlus

of its remedy of injunctive relief, 35 U.                     c. ~ 283 , and the right to exclude others from the use of


its property rights. This is paricularly harul where business competitors are involved. The

federal courts have repeatedly recognized that a remedy of damages alone does not suffice to

prevent irreparable            har to the patentee.
            In summar, the notion that staying this case wil lessen costs , reduce complexity, and

narow the issues for tral, is a false promise. Instead, this motion for a stay is simply an effort to

delay resolution of this case until one or all of the patents- in-suit have expired. Defendants ask

that this Court delay this matter for a minimum of                        six or more years       in the hope that    some   of the
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 issues pertaining to           some         of their defenses against             some   of the asserted claims of two of the three

 patents- in-suit might be addressed by the PTO in a manner that is not likely to be fully binding

 on these paries or this Court. Defendants ' request wholly fails to meet the heavy burden set by

 the Supreme Court in               Landis        v.   N. Am. Co.,       of " a rare circumstance " in which there is " a clear

 case of hardship or inequity in being required to go forward. " 299 u. S. 248, 255 (1936).                                 ePlus

 therefore respectfully requests that the Court deny defendants ' motion.

II.          BACKGROUND
            A.   The Patents- In- Suit
            The patents- in-suit relate to electronic sourcing systems and methods conducted by

electronic sourcing systems. An electronic sourcing system, according to the patents , is an

electronic system for use by a prospective buyer to locate and find items to purchase from

sources. The electronic sourcing systems and methods automate internal corporate purchasing

processes, resulting in considerable savings in time and expense. Corporate customer users may

search for items for sale from multiple selected electronic catalogs (each associated with a

supplier source), determne whether a selected matching item found in the catalog search is

available in the supplier s inventory, find related items available from other suppliers , and build

a requisition from the selected matching items found in the catalog search(es). If a requisition is

approved , the electronic sourcing system then generates electronic purchase orders to each

different supplier identified in the approved requisition.                                See, e.   683 Patent, Col. 3:3- 24.

            ePlus       provides electronic procurement software and services that practice the patented

inventions and compete with the accused products and services of the defendants.
                                                                                                                    See

Declaration of Kenneth G. Farber in Support of ePlus s Opposition to Defendants ' Motion to

Stay Proceedings ("Farber Dec. ) at" 3- 12.
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                        ePlus s So- Called "Long Litigious History" Has Already
                        Resulted In A Prior Jury Verdict Of Wilful Infringement And
                        Patent Validity In This Very District
            Defendants oddly characterize                ePlus    as having " a long litigious history involving the

patents- in-suit, " although defendants mention only a single lawsuit in which                     ePlus           sought to

enforce these patents. In actuality, excepting the litigation against these defendants , there have

been only two prior cases in which ePlus sued to enforce these patents. The first of these cases

     never mentioned in defendants ' brief - was brought in the Alexandria Division of this Court

against Arba, a competitor of                 ePlus   and one of the largest e- procurement software companies in

the United States. Farber Dec., ' 13. In a 2005 tral before Judge Leonie Brinkema,                                  ajury held


that Ariba willflly infringed all of the asserted claims of these same three patents- in-suit, and

that all of the asserted claims were valid.                      After the jury verdict was returned but before the

Court proceeded to the damages phase of the trial , the paries rapidly settled the case with Ariba

takng a license to the patents- in-suit.                Id.

            The second such case was that referred to in defendants ' brief, in which                      ePlus     sued to

enforce the patents against another of its largest competitors , SAP. As defendants note, that case

was tried before Judge Spencer in the Richmond Division. After some of the impaneled jurors

were excused from service for varous reasons, the remainder of the jurors were unable to reach a

decision and the Court declared a mistrial. The paries thereafter agreed to submit the case to

Judge Spencer for a bench ruling; however , before that occurred SAP agreed to settle the case

and, again , took a license to the patents- in-suit. Farber Dec., , 14. Accordingly, two of the

largest e-    procurement software companies operating in the United States have paid for the right

to practice the inventions of the patents- in-suit and are licensed to do so.
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                           After Nearly Three Years, The '            Reexamination Is
                                                                          683    Ex Parte

                           Not Near Completion And There Has Been No "Final
                           Rejection" Of Any Of The ' 683 Claims By The PTO
            Defendants ' characterization of the status of the pending ' 683 Patent reexamnation

proceeding and Lawson s request for reexamnation of the ' 172 Patent is highly misleading in

many respects.

            First, only       20 of the    45    claims   in the ' 683 Patent are subject to a pending                ex parte

reexamnation proceeding. 4 Claims 1- 25 of the asserted ' 683 Patent are                                 not   the subject of    any

reexamnation proceeding.                   See    Manbeck Dec. ' 14. Moreover none of                      the ' 516 Patent claims

are the subject of           any   reexamnation. Manbeck Dec. ' 5 n. 1. In addition, the PTO has not yet

decided to grant Lawson s request for                     inter partes      reexamnation of the ' 172 Patent. Indeed,

Lawson s reexam request has initially been rejected as                            defective.       Manbeck Dec. , " 36- 39.

Thus, as of this date, only 20 claims out of 79 claims of the three patents- in-suit are subject to a

pending reexamnation proceeding in the PTO or only 25% of the claims in suit.

            Nor is the ' 683 Patent reexamnation proceeding at an alleged " advanced" stage , or under

a " final" PTO decision , as defendants suggest. Although the PTO Examner has issued a final

Offce Action in the ' 683 proceeding, this Offce Action is by no means the final stage of the

process. After issuance of a final Offce Action, the Patent Owner then has the right to appeal an

Examner s rejection to the PTO' s Board of Patent Appeals and Interferences ("                                     BPAr'), as    ePlus

did here. Manbeck Dec. ' 53. The Examner must then fie an Answer to the Patent Owner



4 The
         ex parte        reexamnation of the ' 683 Patent was first requested over three years ago in July
2006. Manbeck Dec. ' 14.
5 Defendants criticize
                                      for having the temerity to initiate this action when 20 of the 79
                                   ePlus

claims are the subject of the         ex parte reexamnation. Given that there is no definite time frame
for the conclusion of that reexamnation and the patents are of finite duration , what else would
defendants have            ePlus do? Indeed, each of the moving defendants has asserted a defense of
laches, thereby contradicting their own argument.
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Appeal Brief. Here, the PTO Examner has yet to fie his Answer.                      Id.   In some cases, the Patent

Owner may fie a Reply Brief if the Examner raises a new issue in the Answer.                       /d.

            However, once the issues are fully briefed, the fie may then be transferred from the

Examning Branch to the BP AI. The Patent Owner may then fie a request for oral hearng and

the oral hearng is typically conducted within six to twelve months after the request for oral

hearng is fied. Manbeck Dec., , 54. The BP AI typically issues its decision within one to three

months after the oral hearng, although there is no deadline and the decision may take longer.                   Id.

The Patent Owner may fie a request for a rehearng of any unfavorable BP AI decision within

two months after receipt of the BP AI decision. The BP AI's decision on the request for rehearng

typically issues within one to two months thereafer although there is no deadline for the

decision.       Id.

            If the BP AI's decision remains unfavorable , the Patent Owner has the statutory right to

appeal the decision to the Federal Circuit. Although the median time for disposition in the

Federal Circuit for an appeal of a PTO decision is approximately 9 months , there is no set

deadline by which the Federal Circuit must decide the appeal. Manbeck Dec., , 55.

            Thus, as is clear, the PTO Examner s pending rejections are only interim findings. A

reexamnation proceeding is not completed, and does not make any changes to the patent under

reexamnation, until a reexamnation certificate is issued that cancels claims , confirms claims

and/or modifies the claims.               See infra   at 21. This is so even if claims have been finally rejected

or finally confirmed by the Examner or the BPAI. Manbeck Dec., ' 59. The PTO is free to

reconsider its initial determinations in a reexamnation at any time prior to issuing a

reexamnation certificate.                See Fresenius Med. Care Holdings 2007 WL 1655625 at *4 (N.

Cal. June 7, 2007);           see also    Manbeck Dec. " 59- 61.
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III.        ARGUMENT
            A.  In Order To Obtain The Extraordinary Remedy Of A Stay,
                Defendants Must Make Out A Clear Case Of Hardship Or
                Inequity In Being Required To Go Forward
            The Supreme Court in           Landis   provided the authoritative standard for evaluating a request

for a stay of litigation pending the result of another proceeding. 299 U. S. at 254- 55. The            Landis

Court held that a movant "must make out a clear case of hardship or inequity in being required to

go forward , if there is even a fair possibilty that the stay for which he prays wil work damage to

someone else.             Only in rare circumstances will a litigant in one cause be compelled to stand

aside while a litigant in another settles the rule of law that will define the rights of both. " Id.

(emphasis added). 6

            Defendants outline an oft-used three- factor test for whether stays should be granted in

favor of patent reexamnation proceedings before the PTO. This test, if followed in the fashion

advocated by defendants , is , in large par, a self- fulfillng prophecy. The test, ariculated in


Softiew Computer Prods.              v.   Haworth, Inc. 200 WL 1134471 , at *2 (S.          Y. Aug. 10 200),

focuses largely on whether a patent infringement case might be simplified through a narowing

of issues by staying the litigation pending PTO reexamnation. Given that reexamnation of a

patent almost invariably leads to some sort of a decision from the PTO as to the validity of

certain claims (albeit a decision that might not be binding on paries to litigation), an overly

simplistic approach results in this test arguably being met in many cases. Such a simplistic

approach, however , impermssibly depars from Supreme Court precedent regarding stays and

effectively shifts the burden away from where it must be under the law                  with the movant.


6 The Federal Rules also require that courts administer cases to secure the "
                                                                             just, speedy, and
inexpensive determnation of every action. " Fed. R. Civ. P. 1. Further , the Civil Justice Reform
Act " mandates the prompt resolution of civil cases in federal court " and a plaintiff "is entitled to
the reasonably prompt resolution of its case. Cequent Trailer Prods., Inc.    v. Diversi- Tech

Corp., 2008 WL 819750, *2 (N.        Y. Mar. 25 , 2008).
                               '"

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            Indeed, although Defendants cite                          Landis      as a passing reference for the unremarkable

proposition that a district court has the right to control its own docket,                               see     Def. s Memo. at 5

nowhere do defendants mention the                            Landis        Court' s requirement that the stay movant " make out a

clear case of hardship or inequity in being required to go forward, if there is even                                        afair possibility


that the stay for which (the pary) prays wil                             work damage      to someone else " nor do they

acknowledge the Court' s emphasis that stays should be granted only in                                         rare circumstances.

Landis,      299 U. S. at 255 (emphasis added);                           see also id.   at 256 ("the burden of makng out the

justice and wisdom of a deparure from the beaten track lay                                   heavily   on the petitioners , the

suppliants for relief' (emphasis added)).

            This very year the Supreme Court has reiterated its holding in                              Landis stating that " (t)he

pary requesting a stay bears the burden of showing that the circumstances justify an exercise of

that discretion.           Nken      v.   Holder 129 S. Ct. 1749, 1761 (2009). "The fact that the issuance of

the stay is left to the court' s discretion ' does not mean that no legal standard governs that

discretion.... ' (A) motion (to a court' s) discretion is a motion , not to its inclination , but to its

judgment; and its judgment is to be guided by sound legal principles. ",                                   Id.   (quoting      Martin




Franklin Capital Corp.,                   546 U. S. 132, 139 (2005)).


            In this instance, the Court must apply the traditional standard for a stay, which involves

consideration of four factors: " ( 1) whether the stay applicant has made a strong showing that he


is likely to succeed on the merits; (2) whether the applicant wil be irreparably injured absent

stay; (3) whether issuance of the stay wil substantially injure the other paries interested in the



  See also Moses H. Cone Mem l Hosp. v. Mercury Constr. Corp.,             460 U. S. 1 , 14- 15 (1983)
(recognizing courts virtually unflagging obligation... to exercise the jurisdiction given them
to decide controversies) (quoting  Colorado River Water Conservation Dist.           v.  United States, 424
    S. 800, 817 (1976)) (recognizing that a trial court may abstain from exercising jurisdiction
whether by dismissal or by delay, only in "exceptional circumstances.
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 proceeding; and (4) where the public interest lies.                                           Id.   at 1756 (quoting          Hilton        v.    Braunskil, 481

      S. 770, 776 (1987)). Defendants do not even address their arguments to this standard.

                The Federal Circuit has, in turn , applied the principles of                                    Landis      and stated that " (i)n

 deciding to stay proceedings indefinitely, a tral court must first identify a                                               pressing need            for the stay.


The court must then balance interests favoring a stay against interests frstrated by the action.

Overarching this balancing is the court' s paramount obligatn to exercise jurisdiction                                                                 timely in

cases properly before it."                       Cherokee Nation                v.   United States 124 F.3d 1413, 1416 (Fed.

Cir. 1997) (emphasis added).

                This Court has also applied the principles set out by the Supreme Court.                                                          A ventis Pharma

Deutchland GMBH                       v.   Lupin Ltd.,       403 F. Supp. 2d 484 489 (E. D. Va. 2005), for example,

acknowledged that " (a) pary seeking a stay ' must justify it by clear and convincing

circumstances ' and these circumstances must weigh                                               more heavily            than the potential har to the

pary against whom the stay applies.                                " (quoting        Landis,         299 u. s. at 254- 55) (emphasis added).


Indeed, the           A ventis        court recognized that a pary has a right to have its case heard and stated that

   (t)his Court is ofthe firm belief that                          justice delayed is justice denied. " /d.                             (emphasis added).

                Patent infringement litigation should be treated no differently than any other type of case

for the purpose of whether to grant a stay in favor of another proceeding, such as a PTO

reexamnation.                Landis         and its progeny must be followed here. Indeed , the Supreme Court has

noted on two recent occasions that " traditional principles of equity" apply to patent cases "


8 Defendants
               ' arguments indirectly touch on certain of the factors, for example , by arguing the
likelihood that their reexamnation request wil be granted or that the claims may be cancelled or
amended. However, their argument is merely one of         numerical probabilities   based on other
cases; they present no argument based on the actual claims of the three patents- in-suit. They
present no facts from which this Court could find they face irreparable har if the Court allows
the litigation to proceed, or that the public interest favors delaying litigation for 6. 5 years or
more.
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less than in other cases governed by such standards.                                  See MedImmune, Inc.      v.   Genentech, Inc.,

549 U. S. 118, 132 n. ll (2007) (rejecting the Federal Circuit' s specialized test for declaratory

judgment jurisdiction for patent cases and applying the test used in other types of cases);                                    eBay

Inc.       v.   MercExchange,            L.L.c. , 547 U. S. 388, 394 (2006) (instructing the district court to apply

  the traditional four- factor framework that governs the award for injunctive relief' instead of

applying a special rule for patent matters).

                 This Court "is under no obligation to delay its own proceedings by yielding to ongoing

PTO patent reexamnations, regardless of their relevancy to infringement claims which the Court

must analyze. NTP, Inc.                     v.   Research in Motion, Ltd., 397 F. Supp. 2d 785, 787 (E. D. Va. 2005).

Indeed, the intermnable length of reexamnation proceedings, discussed                                       infra and the ease with

which they are initiated 9 suggests if anything that considerable caution be used before granting a

stay of litigation based on such proceedings.

                 Accordingly, the burden is on defendants to show that the hardship of going forward

  weighs           more heavily on them than the potential har of suspending the case indefinitely

weighs against                  ePlus.   Here , defendants do not and cannot demonstrate a " pressing need" for a

stay of this case pending resolution of the reexamnation requests that pertaining only to some of

the claims of two of the three patents- in-suit. Neither do the defendants establish a "clear case of

hardship or inequity in being required to go forward. Landis 299 u. s. at 254- 55.

                For example, although defendants complain of having to expend time and money on

litigation the courts have squarely rejected the cost of defending litigation as a clear hardship

wa"anting a stay. See, e.                   g., Lockyer     v.   Mirant Corp.,         398 F.3d 1098, 1112 (9
                                                                                                                    th Cir. 2005)

(holding that "being required to defend a suit, without more , does not constitute a ' clear case of


9 See
            Def. ' s Br. at 3 (noting that 95% of                inter partes       reexamnation requests are granted).
                                                                                       ).



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 hardship or inequity ' within the meaning of                                 Landis        By contrast, there is not merely the " fair

 possibilty" but a near-certainty that the stay defendants seek " wil work damage                                      " to   ePlus,

 because a stay wil deprive                      ePlus            and its licensees of the abilty to exclude these unlicensed

 competitors from unlawfully practicing the inventions of the patents- in-suit for the duration of

 the stay. Indeed, as discussed                          infra,      PTO reexamnation proceedings are so protracted and

 intermnable in duration that in all likelihood at least the ' 172 and ' 516 Patents wil expire

entirely before the               inter partes            proceeding recently requested by Lawson wil be completed; thus,

a stay would effectively deny                        ePlus          the remedy of injunctive relief afforded by the patent statute.

35 U. c. ~ 283. In the meantime , defendants wil be permtted to continue their infringement

unabated.

                        Defendants' Request For A Stay Of Proceedings With Respect
                        To The ' 172 Patent Is Premature
            As defendants acknowledge, Lawson fied its request for a reexamnation of the ' 172

Patent claims with the PTO only on July 10, 2009, and the PTO has initially rejected that

request. lO No reexamnation request has been made with respect to the ' 516 Patent- in- Suit, or

with respect to twenty- five of the claims of the ' 683 Patent- in- Suit.

            To the extent defendants rely upon Lawson s request with respect to the ' 172 Patent as

the basis for their stay motion , their motion is premature as a matter of law under the established

precedent of this Court. Defendants rely upon cases ostensibly granting stays before the PTO

has acted upon reexamnation requests,                                  see   Def's. Br. at 12 , n. 3; however , defendants nowhere



10 If
        Lawson cures the deficiencies in its reexamnation request, the PTO has 90 days from the
fiing date of any amended request in which to grant or deny the request for reexamnation.
       c. ~ 312. By that time, discovery in this case wil have been well under way and wil be
near completion. Indeed, the pretrial Orders entered by this Court require that plaintiff s
discovery close by November 23, 2009, and that the tral commence on February 1 2010.         See
Fujitsu Ltd.  v. Nanya Tech. Corp. 2007 U. S. Dist. LEX IS 83581 , *8 (N. D. Cal. Nov. 6 , 2007)
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 cite this Court' s recent published decision to the contrar in                              Heinz Kettler 592 F. Supp. 2d at

 882.

              Adopting what appears to be the majority view , in Heinz Kettler Judge Smith held that:

              (t)he plain language of                 35          C.      * 318   renders (defendant' s) motion
              premature.           That section indicates that a stay may be obtained                  once an order for
              reexamination has been issued,        and does not seem to contemplate that a stay is
              appropriate before reexamnation has been ordered. Because (defendant's)
              request for reexamnation is stil pending, a stay is premature. Put simply, at this
              juncture , a stay of this litigation is inappropriate.

 Id.    (emphasis added).

              Judge Smith took note of one of the cases relied upon by defendants here, characterizing

 it as one of a " few courts " that have concluded a stay is appropriate in view of a pending

reexamnation request.                      /d.   at 882 , n. 5. Judge Smith expressly disagreed, however , holding that

      the court can find no reason to depar from the very language ofthe 35 U.                               c. ~ 318, which


dictates the timing of obtaining a stay. Id.

              Accordingly, to the extent defendants rely on Lawson s recent request for reexamnation

of the ' 172 Patent , their motion is premature because the request has not yet been granted.

                                                                      Inter Partes
                           Contrary To The Requirements Of The Statute,

                           Reexaminations Are Not Conducted With "Special Dispatch"
                           And Wil Not Be Anywhere Near Their Conclusion In Three
                           Years


(denying stay where discovery was argued to have not progressed significantly but only four
months remained until conclusion of fact discovery).
11
  Not only is Lawson s request for reexamnation of the ' 172 Patent premature , moreover , its
reexamnation request is likely to be rejected by the PTO as defective and non-compliant with
PTO requirements. The PTO has initially rejected Lawson s reexamnation request as defective.
See     Notice of Failure to Comply with                       Inter Partes        Reexamnation Request Filing Requirements
  Notice ) attached as Ex. A to Declaration of Brent L. VanNorman (" VanNorman Dec. ). For
example , the PTO has rejected Lawson s reexamnation request because it failed to include a
statement pointing out each substantial new question of patentabilty and a detailed explanation
of the pertinency and manner of applying the cited patents and publications to every claim for
which reexamnation is requested, as required by 35 U. c. ~311.
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              Defendants appear to suggest that the                             inter partes         reexamnation Lawson has just

 requested                albeit rejected by the PTO -wil be concluded in approximately three years.

 Defs. Br. at 12 (citing average and median pendency data). This is surely not the case, as

 commentators analyzing reexamnation proceedings have determned that the paries should

 expect them to last                at least             years       through the appeals to the Federal Circuit , notwithstanding

 the statutory command that the proceedings be conducted "with special dispatch.                                           See         Institute

 for Progress Paper at 1                   5;   Bartex 611 F. Supp. 2d at 651 (citing Institute for Progress study and

estimating entire process of                         inter partes         reexamnation as requiring an average of 78.4 months);

Roy-          Biv Corp.        v.   Fanuc Ltd. 2009 WL 1080854 , *2 (B.D. Tex. Apr. 14 2009) (citing Institute

for Progress study and estimating entire length of                                    inter partes      proceeding as takng between five

to eight years);           ESN, LLC             v.   Cisco Sys:, Inc. 2008 u. s. Dist. LEXIS 108327, **6- 10 (E. D. Tex.

Nov. 20 2008) (relying in par on Institute for Progress study).

              The Institute for Progress Paper also shows that the PTO statistics of average or median

pendency times upon which defendants rely dramatically understate the typical length of these

proceedings because (i) they include cases in which the patent owner simply failed to respond or

defend its patent; and (ii) the proceedings upon which the statistics are based are not yet

complete. Manbeck Dec., " 42- 50; Institute for Progress Paper at 3- 5. In reality, there has not


yet been a single case in which an                               inter partes   reexamnation proceeding has been completed all

the way through a Federal Circuit appeal in the nearly ten- year history of the statute.                                         Id.    at 1.


That is simply astounding, in a word.

              There is no deadline , either statutory or under the PTO rules, for the completion of any

phase of an         inter partes          (or an        ex parte)        reexamnation once it has been declared and the first

offce action has been mailed. Manbeck Dec., ' 41. Mr. Manbeck' s declaration explains in
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 detail the numerous steps that an                       inter partes          reexamnation entails and concludes , based on

 review of PTO data , that " in the more than nine years since the                                          inter partes       statute was enacted

 there has only been one                 inter partes        reexamnation that has progressed from the BP AI to the

 Federal Circuit." Manbeck Dec., , 45. That reexamnation is stil pending because it is on

 appeal to the Federal Circuit.                   Id., ' 47.

                 Contrar to defendants ' suggestion that a stay in this matter would be of short duration , if

Lawson s request for reexamnation ofthe ' 172 Patent is granted, the PTO' s statistics indicate

that where as here the Patent Owner wil actively paricipate in the reexamnation process rather

than merely allowing it to proceed undefended , the average pendency of the                                                    inter partes

proceedings is 70 months through the issuance of a BPAI decision. Manbeck Dec. ' 49. This

70 month average pendency period further increases if either pary appeals the BPAI's decision

to the Federal Circuit.

                 Thus , if Lawson s request for                inter partes           reexamnation is ultimately granted by the

PTO , it could take almost 7 years, or possibly longer , for a final decision in such a proceeding.

Indeed, at a minimum , the ' 172 Patent could expire prior to the conclusion of the proceeding.

Manbeck Dec., ' 57.

                 Staying this litigation in favor of a proceeding that wil take at least 6. 5 years and likely

more does not serve the efficient administration of justice or the public interest.                                                ESN,   2008 u.

Dist. LEXIS 108327 at *9 ("The principle that justice delayed is justice denied applies with full


12
     Moreover, considering that so few            Reexamnation Certificates have issued and the
                                                              inter partes

circumstances surrounding their issuance, the rate of claims subject to cancellation or
amendment does not appear to be a reliable predictor of the rate for all                                               inter partes
reexamnations.              See Network Appliance Inc.                        v.   Sun Microsystems Inc.,                  2008 WL 2168917, **3-
4 (N. D. Cal. May 23, 2008) ("The Court concludes that these general and limited statistics are
not very helpful in predicting the outcome of issuing a stay in this case.
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force to the patent process. Staying this case for six-plus years when this Court can resolve the

matter more expeditiously is unfairly prejudicial to (plaintiffj. ) (quotation omitted). Or as

stated by another distrct court:

              there appears to be a growing concern among at least some judges in this district
              that, on balance staying a case even in its early stages pending reexamination
              has not led to the just, speedy, and effiient management of the litgation, but
              instead has tended to prolong it without achieving suffcient benefits in
              simplifation to justify the delay.   This concern stems in par from the
              unpredictable but often lengthy duration of the stay due to the length of PTO
              reexamnation proceedings. .. in contrast to the salutar effect of firm deadlines
               on effcient case management.

NetworkAppliance 2008 WL 2168917 at *3 (emphasis added).

                          The             Reexamination, If Granted, Wil Not Narrow
                                 Inter Partes

                          The Issues For Trial
              Defendants further suggest that the                  inter partes       reexamnation wil narow the issues for

trial, as it wil resolve issues of claim constrction and invalidity. In reality, it is highly unlikely

that the reexamnation wil narow the issues for trial in any meaningful way. To the contrar, a

stay of this action is likely to cause , rather than avoid, the need for duplicative procedures to

resolve the issues between the paries.

              First, it bears emphasis that the           inter partes            statute contains a limited estoppel provision

that precludes the requester of the reexamnation from relying (in subsequent litigation) upon the

prior ar that was the subject of the                inter partes         reexamnation in which the validity of the patent

was upheld.              35 U.       c. ~ 315(c). Lawson was the only defendant to request the reexamnation.


Thus , it appears the other two defendants have intentionally avoided joining Lawson

reexamnation request in order that they not be estopped at trial from relying upon the very same


13 As
            set forth above, based on the Federal Circuit s statistics, it should take on average at least 9
additional months to reach a final decision regarding the reexamnation , and perhaps longer.
14
     The     ex parte     reexamnation statute does not contain a similar provision.                      See generally 35
           C. ~~ 301- 307.
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 prior ar that Lawson urges upon the PTO as the basis for reexamnation. 15 See Tesco Corp.

 Weatherford Int , Inc., 599 F. Supp. 2d 848, 851 (S. D. Tex. 2009) (holding that alleged benefits

 of stay were considerably less where there were defendants that were not pary to the

 reexamnation proceeding and therefore were not subject to estoppel);                             Stormedia Texas, LLC




 CompUSA, Inc. 2008 u. s. Dist. LEXIS 55690 , *7 (E. D. Tex. July 23, 2008) (denying stay

 where several defendants were not paries to reexamnation proceeding and would therefore not


be precluded from advancing same invalidity arguments at trial as presented in reexamnation);

cf Cooper Techs. Co.                v.   Thomas          Betts Corp.,        2008 WL 906315 , *2 (E. D. Tex. Mar. 31 , 2008)

(holding that where patents- in-suit were related and shared written description , but one of the

patents was subject to              ex parte      reexamnation from which estoppel would not apply, stay would

be denied because issues would not be simplified).

            Second , the only prior ar that may be the subject of a reexamnation proceeding consists

of patents and printed publications. 35 U. c. ~ 301(a). Accordingly, all other forms of prior ar

cannot and wil not be addressed in the PTO proceeding.

            Third, no invalidity defenses other than Section 102 (anticipation) and 103 (obviousness)

are addressed in the reexamnation. Accordingly, defenses under Section 101 (subject matter),

112 (e. g., indefiniteness, written specification), incorrect or improper inventorship, or inequitable

conduct,      all of which have been asserted by one or more defendants in this case,                               wil not be


resolved in the reexamnation.                     Ariba, Inc.       v.   Emptoris, Inc. 2007 U. S. Dist. LEXIS 78857, *4

(E. D. Tex. Oct. 23 , 2007) (finding a stay would not preserve many litigation resources since the




15 Thus
           , defendants have chosen an                   inter partes        proceeding in order that Lawson may paricipate
in the proceeding and in order that the delay caused be as long as possible, yet they have brought
their request in a manner to avoid the impact of the estoppel provisions of the                           inter partes statute
on this litigation.
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 PTO does not consider infringement issues, grounds for invalidity other than prior ar , or the

 laches, estoppel and waiver defenses raised by Emptoris).

             Fourth , the PTO does not resolve issues of claim construction in a reexamnation

 proceeding. To the contrar, in a reexamnation the PTO uses a different standard and gives the


 claims their broadest possible construction (rendering them more susceptible to invalidity).                                                 In re

 Yamamoto 740 F.2d 1569, 1571 (Fed. Cir. 1984). Thus , even though two different Judges of

 this Court have already given considerable thought to these claims and issued claim constrction
                                                                                                              16
 rulings, the PTO is free to discard those rulings,                              and has done SO.                   And for that same reason

 whatever claim constrction the PTO utilzes in the reexamnations is not binding in subsequent


 litigation before this Court.                     E.l. DuPont de Nemours                    Co.     v.   Cetus Corp.,         1990 WL 305551

 *4 (N. D. Cal. Dec. 3 , 1990).


            Finally, defendants do not argue to the contrar, but it bears heavy emphasis that a

reexamnation wil not resolve any issues of infringement by defendants ' accused products and

services. Neither wil the proceeding resolve many of defendants ' other defenses, such as laches


waiver , or lack of standing.                      Ariba 2007 U. S. Dist. LEXIS 78857 at *4.

                           The Current Reexamination Of Some Of The ' 683 Patent
                           Claims Shows That The                      Ex Parte     Reexamination Process Wil
                           Not Resolve Any Of The Issues Before This Court                                         In    A Timely
                           MaDDer
            Defendants also suggest that the ongoing                             ex parte      reexamnation of 20 of the 45 ' 683

Patent claims wil termnate shortly. However , defendants are wrong both in claiming that there


have been " final" rejections by the PTO of these 20 claims, and that this                                               ex parte   proceeding wil

finish anytime soon.



16 In fact, that is
                             exactly what the Examner in the                      ex parte         reexamnation of the 20 ' 683 Patent
claims has done to date.                  See infra         at n. 17.
              );



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             As set forth in the accompanying Declaration of former PTO Commssioner                            Har
 Manbeck , a so-called " final offce action " by an examner in a reexamnation proceeding is                           not



 final determnation as to the validity of the patent claims as defendants wrongly assert. Manbeck

 Dec., " 52- 55. As              ePlus    has done in this case, the Patent Owner has a right to appeal an

 examner s rejection to the BPAI. Once the Patent Owner fies its appeal brief                          (again, as   ePlus

 has done), an examner has two months in which to fie an " answer. /d.                             53. The process

under which the BPAI decides the issues could easily take as much as an additional year

although , again , there is no deadline for its decision.                  Id. n 53- 54. If the BPAI's decision is

unfavorable to the Patent Owner , the Patent Owner has the statutory right to appeal the decision

to the Federal Circuit , with all the time that such an appeal entails.                    Id. ' 55.

             Claims of a patent under reexamnation are not cancelled until a final action or Action

Closing Prosecution ("ACP" ) has issued , all appeals have been exhausted, and a reexamnation

certificate has issued. This has not occurred with respect to the twenty ' 683 Patent Claims

undergoing           ex parte     reexamnation , and, considering that the examner has not yet fied his

Answer to          ePlus        Appeal Brief, and the fie has yet to even be transferred to the BPAI , it does

not appear that this wil occur any time soon.                   NTP 397 F. Supp. 2d at 788 (" Reality and past

experience dictate that several years might very well pass from the time when a final office

action is issued by the PTO to when the claims are finally and offcially ' confirmed' after

appeals.           see   37 c.F.R. ~ 997(a) (" Upon the conclusion of an            inter partes   reexamnation

proceeding, the Director wil issue a certificate in accordance with 35 U. c. 316... . ); 35 U.

~ 316(a) (" In an          inter partes    reexamnation proceeding.... , when the time for appeal has expired

or any appeal proceeding has termnated , the Director shall issue and publish a certificate

canceling any claim of the patent finally determned to be unpatentable , confirmng any claim of
                                                                       );



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   the patent determned to be patentable, and incorporating in the patent any proposed amended or

   new claim determned to be patentable.                                      see also         Manual of Patent Examning Procedures

        MPEP" ) ~ 2288 (Upon conclusion of the                                 ex parte        reexamnation proceeding, the examner

  must prepare a " Notice of Intent to Issue                                Ex Parte       Reexamnation Certificate " (NIRC) by

  completing form PTOL-469); Manbeck Dec., ' 57.

                     A reexamnation is complete only upon the statutorily mandated issuance of a

  reexamnation certificate.                        Fresenius 2007 WL 1655625 at *4 , n. 2. The PTO is free to

  reconsider its initial determnations in a reexamnation prior to issuing a reexamnation

  certificate.           Id.     Thus , all of the claims of the ' 683 patent are valid and enforceable as a matter of

  law unless and until the conclusion of the entire reexamnation process, including the appeals

 process , determnes otherwise.                          See In re Bingo Card Minder Corp.,                   1998 WL 130514 , *2 (Fed.

 Cir. Feb. 25, 1998); 35 u.                        c. ~ 307(a) (certificate canceling or confirmng claims of patent on


 reexamnation is issued when the appeals process has been exhausted);                                           see also Construction

 Equip. Co.             v.     Powerscreen Int l Distribution, Ltd., 2009 WL 437703 , *9 (D. Or. Feb. 19, 2009).

 Until a certificate is issued in a reexamnation, final disposition of any reexamnation proceeding

 is unknown , and therefore, until such a certificate issues , it remains possible that the PTO'

 determnation in the reexamnation wil have no ultimate bearng on the scope or life of the

patent.            See Fresenius; see also Texas MP3 Techs.                               v.    Samsung Elecs. 2007 WL 3219372 (E.

Tex. 2007).


                  Further, while defendants here again suggest (based on PTO statistics alone) that an

parte            proceeding should be complete in less than two years , Def s. Br. at 12, they concede

they must                    that the   ex parte      reexamnation of the twenty ' 683 Patent claims has already
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 consumed              over three years                  with no clear end in sight. 17 Accordingly, this Court can have no

 confidence that the                 ex parte        reexamnation wil conclude in an expeditious manner.

                             It Is Impossible That Reexamination Would Result In
                             Cancellation Of All Claims Of All Patents- In- Suit
               In addition , defendants ' reliance upon the PTO' s reexamnation statistics as a basis for

 presuming what wil occur with respect to ePlus s patents is not compellng. Although the PTO

 grants a majority of the requests it receives for reexamnation , in only 11 % of all                       ex parte

reexamnations are all of the claims subject to reexamnation canceled. Manbeck Dec., , 52 and

Exhibit I thereto.

               As to      inter partes          reexamnations , since 1999, out of 682 reexamnation requests fied to

date, only 12% have concluded. Manbeck Dec. ' 47. Only eleven out of 682                                 inter partes

reexamnations have received a BP AI decision to date. Manbeck Dec. , , 45. And , in the more

than nine years since the                       inter partes   reexamnation statute was enacted, there has only been one

inter partes            reexamnation that has progressed from the BP AI to the Federal Circuit.                Id.   Given

the fact that so few                inter partes          reexamnations have concluded to date , the rate that claims were

subject to cancellation or amendment in those proceedings is not a predictable indicator of the

rate of cancellation or amendment for all                          inter partes   reexamnations. Manbeck Dec. , , 50.

                            Defendants' "Prosecution History" Argument Provides No
                            Basis For A Stay
            Defendants repeatedly argue that the Court should stay the litigation because the

reexamnations wil create additional "prosecution history" for the patents- in-suit. Defs. Br. at

17
   Indeed, the Examner s interim findings wil not likely be sustained on appeal as his pending
grounds for rejection are based upon a legally improper claim constrction. He has interpreted
the claim term "requisition " to mean the same thing as the separate claim term "purchase order.
It is fundamental that the claim term "requisition" cannot be construed to mean "order" when the
patent claims separately recite and distinguish "orders " from "requisitions. " Manbeck Dec., "
24- 32. See also CAE Screenplates Inc.   v. Heinrich Fiedler GmbH 224 F.3d 1308 (Fed. Cir.
                                          );



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        10. Again , this argument is not compellng, and, indeed proves too much. " The patents-

in-suit already have a "prosecution history" based on their original examnation by the PTO.

Moreover , all three patents- in-suit have already been the subject of                              two   trials before this Court

(one of which resulted in a jury verdict of wilful infringement and patent validity), and two

Judges of this Court have already examned the prosecution history and construed the asserted

claims of these patents. These two litigations entailed a full record of discovery and expert

opinion. The defendants in those cases were large software companies - much larger than the

defendants here                and aggressively represented by sophisticated legal counsel.

            Defendants do not and cannot explain why forcing                              ePlus   to again defend its patents

before the PTO before litigating these patents for a third time in this Court is likely to have any

incremental benefit to the resolution of the issues before this Court. Indeed , if there is some

benefit to be gained by creating more prosecution history before the PTO , why then would

multiple reexamnation proceedings not be even more preferable? Defendants do not even

attempt to explain any specific aspect of the asserted claims for which additional prosecution

history is either necessar or desirable , and similar appeals to a multiplicity of proceedings have

been rejected by this Court and others.                        NTP,          397 F. Supp. 2d at 788 (" Valid patents would be

rendered meaningless if an infringing pary were allowed to circumvent the patents ' enforcement

by incessantly delaying and prolonging court proceedings which have already resulted in a

finding of infringement." see also Roy-                               Biv,     2009 WL 1080854 at *2 (" To convince the Court

that a stay wil actually simplify a case, the requesting pary must do more than proffer oft- cited

reexamnation statistics and generic judicial efficiency arguments " and noting the Court'




2000) (court must presume that the use of different terms in the claims connotes different
meanings).
                                                                   );



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  experience that reexamnations may actually complicate cases by creating additional prosecution

  history estoppel arguments).

                         A Careful Analysis Of The Factors                 Relied       In   Bausch      Lomb

                         Upon By Defendants Shows That A Stay Of Proceedings Is Not
                         Warranted
             Defendants recite a litany of supposed "benefits " ariculated in a district court decision

 that wil result if the Court stays this action. Defs. Br. at 11 (discussing                                    Bausch      Lomb Inc.




 Rexall Sundown, Inc., 554 F. Supp. 2d 386 , 389- 90 (W.                                         N. Y. 2008)). While superfcially

 enticing, these benefits evaporate upon close inspection. A careful analysis reveals that the

 supposed benefits are entirely speculative and outweighed by detriments that wil result from a

 stay.

                        The reexamination wil not result in all prior art first being presented
                        to the PTO.
            The reexamnations wil not, as defendants contend , result in " (a)ll prior ar first being

presented to the PTO. " Defs. Br. At 11 (citing                                Bausch            Lomb 554 F. Supp.2d 386, 389- 90).

This supposed benefit is based on an assumption that is simply false. There is no guarantee

whatsoever that all the prior ar defendants wil rely upon in this case wil be presented to the

PTO in the reexamnations. In fact , exactly the opposite is likely. Indeed, the prior ar that may

provide the basis for a reexamnation must be limited to patents and printed publications.
                                                                                                                                        See

Bartex,     611 F. Supp. 2d at 653 (the movant " may stil challenge the validity of the ... patent with

non- printed prior ar references or newly discovered prior ar , even if the patent survives

reexamnation with all claims confirmed.                                 ESN,      2008 u. s. Dist.LEXIS 108327 at **11-

(noting that much prior ar would be asserted at trial that was not the subject of reexamnation

proceeding). Further , as noted                  supra more than half of the claims of the ' 683 patent and all of

the claims of the ' 516 patent are not even subject to the reexamnation requests. Therefore, prior

ar asserted against those claims wil never have been presented to the PTO.                                           In re Phoenix
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 Licensing LLC,           2009 u. s. Dist. LEXIS 17525, **12- 13 (D. Ariz. Feb. 24, 2009) (stay would not


 simplify issues where only one of three patents- in-suitwas subject to reexamination);                                                Mars, Inc.

 v.   JCM Am. Corp.,           2006 WL 3373284, **6- 7 (D.                        J. Nov. 21 , 2006) (stay was not waranted

 where only one of two patents- in-suit undergoing reexamnation). Further , two of the moving

 defendants did not join in Lawson s reexamnation request, undoubtedly in order to avoid the

 estoppel provisions of the               inter partes        statute. Those defendants wil likely argue they may rely

 on prior ar at trial even if the PTO has determned the ar not to be invalidating.

                                     The PTO will not resolve discovery problems for this Court.

                Defendants ' assertion that " (m)any discovery problems relating to prior ar can be

 alleviated by the PTO examnation " Defs. Br. at 11 (citing                                        Bausch          Lomb,        554 F. Supp.

 386 389- 90), is simply not borne out by the facts. The PTO does not resolve discovery issues

for this Court. Indeed , discovery in a reexamnation proceeding is virtually non-existent, and an

entirely distinct set of rules and procedures applies in the PTO proceedings.                                               See generally


MPEP, ~~ 2600 et seq.                  No provision is made for subpoenas or depositions of third pary prior

ar witnesses.


                                     This suit wil not be dismissed as a result of effective invalidation of
                                     the patent.

                Defendants ' assertion that " (i)n those cases resulting in effective invalidation of the

patent , the suit wil likely be dismissed " Defs. Br. at 11 , has no application to this case where

most of the claims ofthe ' 683 Patent and all ofthe claims ofthe ' 516 Patent are not subject to

reexamnation.            See supra        at 2. And even if all of the claims from the litigation were subject to

the stay, this purported " benefit" is true only if                       all   of the claims of            all three patents        are

invalidated , a highly unlikely event , paricularly where, as here, the patents have been previously

upheld by a jury.
                                                   ););



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                                    Staying this case wil not encourage settlement.

            Defendants provide neither evidence nor logic to support the assertion that " (t)he

outcome of the reexamnation may encourage a settlement without the further use of the Court.

Def s. Br. at 11. To the contrar, and by way of example , in the                             NTP        matters that defendants cite

   , according to this Court' s PACER docket it appears that none of those cases have settled

during the several years since the Court stayed them.                          See NTP, Inc.       v.   Palm, Inc., Civil Action

No. 3:06-cv- 836- JRS (E. D. Va. NTP, Inc.                         v.   Palm, Inc. 2007 U. S. Dist. LEXIS 97141 (E.

Va. Mar. 22 , 2007) (staying case);                       see also NTP, Inc.   v.     Mobile USA, Inc. Civil Action Nos.

3:07-cv- 548- 551- JRS (E. D. Va. NTP, Inc.                        v.     Mobile USA, Inc. 2007 u. s. Dist. LEXIS

82063 (E. D. Va. Nov. 2 , 2007) (staying case). Meanwhile , those reexamnations are stil

languishing before the PTO, and are now in their                          seventh year. NTP 397 F. Supp. 2d at 786 , n.

(stating that reexamnations were commenced in Januar 2003). In the                                       MercExchange          v.   eBay

litigation , again according to this Court' s PACER docket , a settlement was not reached until this

Court determned it would                  not      stay that aspect of the judgment that enforced a trial verdict of

wilful infrngement and validity of one of the patents.                              MercExchange, L.L.           C. v.   eBay, Inc., 500

F. Supp.2d 556, 564- 65 (E. D. Va. 2007). Indeed, it would appear that staying litigation in

deference to these interminable administrative proceedings would provide defendants with no

reason to settle whatsoever , paricularly where, as here, a stay could effectively preclude the

patentee from having the remedy of an injunction.

                                   The complexity and length of litigation wil not be reduced by
                                   entering the reexamination record.
           Here again , it simply does not follow that if " (t)he record of reexamnation (wil) likely

be entered at tral          " it wil "thereby reduc(e) the complexity and length of litigation. " Defs. Br.

at 11. That the record of reexamnation could be entered at trial does not necessarly or even
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 likely reduce the complexity and length of litigation. The reexamnation wil not resolve claim

 constrction or infringement issues , or inequitable conduct defenses. As discussed                   supra,   the

 estoppel provisions of the          inter partes   statute are rather limited and , since only Lawson fied the

 request, the other defendants wil undoubtedly contend they are free to rely on prior ar even if

 the PTO finds it unpersuasive.

            Moreover , defendants urge as another supposed benefit that the reexamnation wil

actually      create aditional       prosecution history for the patents. In other words, defendants

evidently hope that by requiring a reexamnation (during which the PTO adopts the broadest

possible constrction of the claims) the patentee wil be forced to present additional arguments


for patentabilty; defendants wil subsequently contend such arguments create prosecution

history estoppel. Thus, as defendants ' own arguments reveal , the most likely result wil be that

the reexamnations wil actually increase the complexity of trial.                      See Roy-   Biv 2009 WL

1080854 at *2 (" (i)t is this Court' s experience that the reexamnation process may actually

complicate a case by creating additional prosecution history estoppel and disavowal arguments

that must be addressed during claim constrction.


                                 The reexamination wil not signifcantly limit issues, defenses and
                                 evidence.

           With respect, the assertion that " (i)ssues , defenses , and evidence wil be more easily

limited in pretral conferences after a reexamnation " Def s. Br. at 11 , is so unsupported as to be

little more than a platitude. For all the above reasons , the reexamnation is not likely to reduce

the issues , defenses, or evidence at trial. Indeed , defendants propose to increase the amount of

evidence at trial by using the reexamnations to create additional prosecution history.
                                                                                                  ,"
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                                             A stay wil not reduce costs for the parties or the Court.
                   Contrar to defendants ' assertion , the cost of this dispute wil not likely be reduced for

   the paries or the Court. Def s. Br. at 11. This assertion would only bear out if all the claims

   asserted in the litigation are invalidated as a result of the reexamnations, a result which clearly

   cannot be achieved in this case.

                              ePlus Wil Be Unfairly Prejudiced By A Stay Of Lengthy And
                              Indermite Duration
                  In being required to go forward with this litigation without the benefit of a stay,

   defendants are no more prejudiced than the typical litigant in the federal court system.
                                                                                                                                See

  Lockyer 398 F.3d at 1112 (having to defend suit, without more, does not satisfy movant'

  burden under             Landis).          On the other hand, ePlus would be unfairly prejudiced if required to wait

         5 years or more              before being permtted to go forward with this litigation.                    ePlus   and its

  licensees are competitors of the defendants. Farber Dec.                                             10, 12. "Where the paries are

  direct competitors, a stay would likely prejudice the non-movant."
                                                                                                           Tesco 599 F. Supp. 2d at

  851; see also Bartex 611 F. Supp. 2d at 652 (finding that patentee could be irreparably hared

 by stay even though it did not practice its patent, which is not the case here). Further , the delay

 in discovery caused by a stay, and the danger that evidence wil be lost, also weighs against a

 stay.        Id. ; accord Sorensen                v.   Ampro Tools Corp. 2009 U. S. Dist. LEXIS 21627 , *6 (N. D. Cal.

 Mar. 9 , 2009) (stay denied because                             inter alia,      delay could result in loss of evidence , and

 duration of reexamnation was unknown);                                    Network Appliance,          2008 WL 2168917 at *5 ("the

 lapse of time during reexamnation could result in the loss of evidence over time).

                 Finally, the ' 516 and ' 172 Patents expire in August 2014 , and the ' 683 Patent expires in

Februar 2017. Manbeck Dec. , 110. Accordingly, a stay of this litigation in light ofthe                                          inter
partes         proceeding wil likely result in at least the ' 172 and ' 516 Patents and possibly all three
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patents- in-suit expiring before the case is tried. ePlus would therefore be deprived of the remedy

of injunctive relief afforded a patent owner under the statute. 35 U.   C. ~ 283.


IV.    CONCLUSION
       For the foregoing reasons, defendants ' motion for a stay of proceedings should be denied.

Defendants wholly fail to meet their heavy burden of showing a clear case of hardship or

inequity in being required to go forward.

                                             Respectfully submitted

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                                      CERTIFICATE OF SERVICE

       I hereby certify that on the 30th day of July, 2009, I wil electronically fie the foregoing
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